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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO


  WARNER BROS. RECORDS INC., et al.,

           Plaintiffs,

  V.                                                      Civil Action No. 19-cv-00874-RBJ-MEH

  CHARTER COMMUNICATIONS, INC.,

           Defendant.


  AFFIDAVIT OF ERIN R. RANAHAN IN SUPPORT OF CHARTER'S OBJECTIONS TO
              MAGISTRATE JUDGE HEGARTY'S OCT. 29 ORDER

   County of Los Angeles           )
                                       ss.
   State of California             )

           The affiant, being of lawful age and duly sworn upon her oath, states and deposes as

  follows:


  I, Erin R. Ranahan, hereby declare:

       1. I am a partner of the firm Winston & Strawn LLP, attorneys ofrecord for Defendant

           Charter Communications, Inc. ("Charter"). I submit this affidavit in support of Charter's

           Objections to Magistrate Judge Hegarty's October 29, 2019 Discovery Order (the

           "Objections"). I have personal knowledge of all facts stated in this affidavit, and if called

           upon as a witness, I could and would competently testify thereto.

       2. Attached hereto as Exhibit 1 is a true and correct copy of Charter's First Set of Requests

           for Production ("RFP"), served to Plaintiffs on June 25, 2019.

       3. Attached hereto as Exhibit 2 is a true and correct copy of Charter's First Set of

           Interrogatories, served to Plaintiffs on June 25, 2019.



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       4. Attached hereto as Exhibit 3 is a true and correct copy of Plaintiffs' Objections and

            Responses to Charter's First Set oflnterrogatories, served by Plaintiffs on July 25, 2019.

       5.   Attached hereto as Exhibit 4 is a true and correct copy of Plaintiffs' Objections and

            Responses to Charter's First Set ofRFP, served by Plaintiffs on July 25, 2019.

       6. Attached hereto as Exhibit 5 is a true and correct copy of an August 27, 2019 letter Charter

            sent to Plaintiffs regarding Charter's discovery requests and Plaintiffs' deficient responses.

      7. On September 19, 2019, the parties met and conferred in person at the Los Angeles offices

            of Winston & Strawn LLP to discuss the deficiencies in Plaintiffs' responses to Charter's

            discovery requests and in an attempt to narrow the issues presented to the Court. Neema

            Sahni and Nicholas Lampros of Covington & Burling LLP attended in person, and John

            Gould from Oppenheim+ Zebrak, LLP attended via conference line on behalf of Plaintiffs.

            Shilpa Coorg and I attended in person, and Jennifer Golinveaux attended via conference

            line on behalf of Charter. During this meeting, counsel discussed, among other things, the

            financial information and information pertaining to the CAS addressed in Charter's

            Objections, filed herewith. We further met and conferred on October 22, 2019. We also

            had additional email correspondence with Plaintiffs' counsel specifically about whether

            Plaintiffs would agree to produce CAS Implementation Agreements on October 30, 2019.

      8. The parties were unable to reach an agreement on the issues discussed in Charter's

            Objections. Thus, Charter contacted the Court and requested a pre-motion discovery

            conference as required by the local rules.

      9. The parties held a pre-motion conference with Magistrate Judge Hegarty on October 29,

            2019. Attached hereto as Exhibit 6 is a true and correct copy of the transcript of that

            conference.



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       10. Following that conference, and before any motion or other papers on the issues were filed,

           the Court issued an order regarding the issues discussed. Attached hereto as Exhibit 7, and

           at ECF Dkt. 76, is a true and correct copy of that order.

       11. I, and others acting under my direction, compared Exhibits A and B of the Complaint in

           this case to the Second Amended Complaint in Sony Music Entmt. et. al v. Cox, No. 1: 18-

           cv-00950-LO-JFA, (E.D. Va. July 31, 2018), a true and correct copy of which is attached

           hereto as Exhibit 8. This comparison has identified over 79% of works that are identical,

           which indicates 8,978 definite duplicative works.

      12. The non-overlapping works-in-suit represent a total of2,430 works.


                       Financial Data Relating to Charter's Investigation into Damages

      13. During the meet and confer, the parties discussed Plaintiffs' position on Charter's RFP

           Nos. 9, 12, 14, 16, 17, 18, 19, 21, 26, and 59 relevant to financial data. Plaintiffs confirmed

           that even though they have already gathered and produced this information for most of the

           works through discovery in Cox, they were taking the position that there is no relevance

           for discovery of financial data or documents that would contribute to assessing value or

           damages on a by-work basis. Plaintiffs agreed only to produce general company financials

           reflecting total annualized profits, losses, and revenues.

      14. Attached hereto as Exhibit 9 is a true and correct copy of a Plaintiffs' June 19, 2019 Initial

           Disclosures, which appears to acknowledge the relevance of discovery concerning the

           value of Plaintiffs' works, specifically stating:

                    A more detailed computation of damages is premature at this point, because
                    a significant amount of information bearing on the subject of damages-
                    such as the extent of Defendant's infringements, the willfulness of the
                    infringements, the financial benefits and profits received by Defendant in
                    connection with the infringements, and the value of Plaintiffs' recordings
                    and musical compositions at issue-is in the possession, custody, or

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                    control of Defendant or will otherwise be developed during the discovery
                    process. (emphasis added).

       15. Attached hereto as Exhibit 10 is a true and correct copy of BMG v. Global Eagle, No.

           2:18-cv-03723-VAP-JEM (C.D. Cal. 2019) Order Granting Defendant's Motion to Compel

           (3/29/2019). As the Court therein noted:

                    That BMG must provide documents and responses regarding its revenues and the
                    value of its allegedly infringed works ...

      16. The Cox court required these same Plaintiffs to produce key financial information,

           including revenues by work and by channel for physical, digital permanent downloads,

           streaming, and licensing revenue for the period of 2011-2014, the entirety of the Claim

           Period, plus approximately an additional two years, in the Cox litigation.

      17. Attached hereto as Exhibit 11 is a true and correct copy of portions of the Sony Music

           Entmt. et. al v. Cox, No. 1:18-cv-00950-LO-JFA, 2018 WL 6059386 (E.D. Va. 2018), Hr'g

           Tr. Jan. 25, 2019.

      18. Attached hereto as Exhibit 12 is a true and correct copy of the Jan. 25, 2019 Order from

           Sony Music Entmt. et. al v. Cox, No. 1:18-cv-00950-LO-JFA, 2018 WL 6059386 (E.D. Va.

           2018) (Dkt. 89).

                               Discovery Regarding the Copyright Alert System

      19. With respect to information concerning the Copyright Alert System ("CAS") sought by

           Charter, as Charter explained in its meet and confer letter:

           •   CAS (and Plaintiffs' and other ISPs' participation in it) is highly relevant to
               show the industry standard during Plaintiffs' claim period, and the actions with
               respect to alleged copyright infringement that were or were not considered
               reasonable or acceptable by not only other ISPs, but also Plaintiffs themselves.

      20. Plaintiffs' counsel indicated during the parties' meet and confer on September 19 that they

           did not believe such information bore any relevance to this case, leading to an impasse.

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      21. During the October 29 pre-motion conference, Plaintiffs agreed to produce the CAS

           Memorandum of Understanding, a publicly available document. (Oct. 29, 2019 Hr' g Tr.

           48:9-10.) Magistrate Judge Hegarty refused to order any production of any further

           documents relating to the CAS. (Oct. 29, 2019 Hr' g Tr. 51:6-11.)

      22. The CAS MOU is implemented through five separate "Implementation Agreements"

          entered into by content owners, including many Plaintiffs here, and each individual ISP.

          The Cox court found these five Implementation Agreements relevant and proportional, and

          ordered them to be produced. See Exhibit 11 at 62:2-4. The parties did not specifically

          address the Implementation Agreements during the October 29 teleconference. Following

           Magistrate Judge Hegarty' s Order, the parties have submitted letters in an attempt to

          resolve this narrowed CAS issue regarding production of the CAS Implementation

          Agreements already produced in Cox.

      I swear under penalty of perjury and under the laws of the United States that the foregoing is

      true and correct.



                                                       Erin R. Ranahan




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       CALIFORNIA JURAT WITH AFFIANT STATEMENT                                                    GOVERNMENT CODE § 8202


       ~        e Attached Document (Notary to cross out lines 1-6 below)
       □ See Statement Below (Lines 1-6 to be completed only by document signer[s], not Notary)


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                  Signature of Document Signer No. 1                         Signature of Document Signer No. 2 (if any)


           A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
           document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

       State of California                                             Subscribed and sworn to {or attin, :e'1) before me
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